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                                                        October 28, 2019
         Via ECF
         The Honorable Karen M. Williams, U.S.M.J.
         U.S. District Court, District of New Jersey
         Mitchell H. Cohen Building & U.S. Courthouse
         4th& Cooper Streets
         Camden, NJ 08101

                           Re:        The HomeSource Corp. v. Retailer Web Services, LLC
                                      D.N.J., Docket No. 1:18-cv-11970-JBS-KMW
                                      Our File No. R0939-1001

         Dear Judge Williams:

                 Your October 11 Order [Dkt. No. 128] requires RWS to substantiate its claims
         that a disclosure will cause it a clearly defined and serious injury. (Order p. 7.) RWS
         anticipates submitting a detailed witness declaration to substantiate its claims. The
         declaration will reveal confidential business information that is proprietary to RWS and
         to non-parties.

                 Local Rule 5.3(b)(6) permits a party to file such supporting materials in a redacted
         form if done pursuant to a confidentiality order, like the Discovery Confidentiality Order
         [Dkt. No. 22]. However, your Order states that RWS’s supporting papers, including its
         declaration, “must be available for review by the public (meaning … [it] shall not be filed
         under temporary seal).” (Order, p. 10.) RWS anticipates filing the declaration in a
         redacted form for public access through Pacer pursuant to the Discovery Confidentiality
         Order, and in an unredacted form for the Court. We would be happy to discuss with
         Your Honor or with your staff should the Court require or prefer a different procedure.
                                               Respectfully,

                                                    /s/ Matthew A. Lipman

                                                    MATTHEW A. LIPMAN

         cc:       Alexis Arena, Esquire (via ECF)
                   Eric R. Clendening, Esquire (via ECF)

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